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 4
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 8                                 UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF NEVADA
10

11
                                                           )
12   UNITED STATES,                                        )   No. 2:16-cr-046-GMN-NJK
                                                           )
13          Plaintiff,                                     )
                                                           )
14          vs.                                            )   CITATION OF SUPPLEMENTAL
                                                           )   AUTHORITIES RE SEALED MOTION FOR
15   GREGORY BURLESON,                                     )   NEW TRIAL [E.C.F. No. 3422]
                                                           )
16          Defendant.                                     )
                                                           )
17                                                         )
                                                           )
18                                                         )
19          CERTIFICATION: This Supplemental Authorities Notice is timely filed.
20          Defendant Gregory Burleson hereby submits this notice of supplemental authorities
21   relating to his pending sealed motion for new trial.
22          1. Unites States v. Cliven Bundy, et al., ___ F.3d ___ (9th Cir. No. 18-10287, August 6,
23                2020). This Ninth Circuit published opinion released yesterday affirms this Court’s
24                dismissal with prejudice of all charges against the Tier 1 defendants (the alleged
25                ringleaders). It contains numerous findings and conclusions that support defendant’s
26                motion for new trial. A copy of the Ninth Circuit’s opinion is attached.
27          2. United States v. Todd Engel, ___ F.3d ___ (9th Cir. No. 18-10293, August 6, 2020).
28                This separate Ninth Circuit published opinion, also released yesterday, vacates co-


                                    CITATION OF SUPPLEMENTAL AUTHORITIES,
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 1              defendant Todd Engels’ conviction and remands for a possible new trial. A copy of
 2              the Ninth Circuit’s opinion is attached.
 3          The Bundy and Engel rulings taken together make Mr. Burleson the only one of the over
 4   two dozen defendants in this case to have been subjected to a substantial prison sentence (68
 5   years and 3 months).
 6          3. The First Step Act, P.L. 115-391-December 21, 2018, 132 Stat. 5222, § 403. Under
 7              this law, if Mr. Burleson had been sentenced 17 months later, or if he is now
 8              resentenced for any reason, his aggregate 68 year sentence would be very
 9              substantially reduced.
10    DATED August 7, 2020                               Respectfully submitted,
11
                                                          // s // Mark D. Eibert
12
                                                          MARK D. EIBERT
13                                                        Counsel for Defendant Gregory Burleson

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                                  CITATION OF SUPPLEMENTAL AUTHORITIES,
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          Case 2:16-cr-00046-GMN-NJK Document 3505 Filed 08/07/20 Page 3 of 3



 1                                  CERTIFICATE OF SERVICE
 2           The undersigned hereby certifies that his business mailing address is P. O. Box 1126,
 3
     Half Moon Bay, CA 94019, that he is not a party to this action, that he is a citizen of the United
     States of such age and discretion to be competent to serve papers, and that on the below date he
 4   caused a true and accurate copy of
 5   DEFENDANT GREGORY BURLESON’S CITATION OF SUPPLEMENTAL AUTHORITIES
 6
     To be served via ECF on the United States District Court, which will e-serve counsel of record in
 7   this case, including the following:

 8   NANCY M. OLSON, ESQ.                             Counsel for the government
 9
     Assistant United States Attorney
     501 Las Vegas Blvd. South, Suite 1100
10   Las Vegas, NV 89101

11           I declare under penalty of perjury under the laws of the United States that the foregoing is
     true and correct to the best of my knowledge and belief. Executed on August 7, 2020          at Half
12   Moon Bay, California.
13
                                             /s/ Mark D. Eibert
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                                   CITATION OF SUPPLEMENTAL AUTHORITIES,
                               United States v. Burleson, Case No. 2:16-cr-046-GMN-NJK     -3-
